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1                                                           Judge Robert J. Bryan
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6
                                 UNITED STATES DISTRICT COURT
7                               WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
8
     UNITED STATES OF AMERICA,         )
9                                      )            NO.     CR94-5074RJB-002
                      Plaintiff,       )
10                                     )
                v.                     )            ORDER TO SEAL
11                                     )
                                       )
12   JEFFERY JAY WARREN,               )
                                       )
13                    Defendant.       )
     _________________________________ )
14

15           Having read the Government’s Motion to Seal requesting that the Government’s
16   Supplemental Sentencing Memorandum be filed under seal,
17           It is hereby ORDERED that the Government’s Supplemental Sentencing
18   Memorandum in this matter shall be filed and remain sealed.
19           DATED this 27th day of May, 2009.
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22
                                             Robert J Bryan
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                                             United States District Judge
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     Order to Seal/Warren — 1                                                 UNITED STATES ATTORNEY
     CR94-5074RJB-002                                                       1201 PACIFIC AVENUE SUITE 700
                                                                             TACOMA, WASHINGTON 98402
                                                                                     (253) 428-3800
